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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )             8:07CR266
                     Plaintiff,                 )
                                                )
      vs.                                       )             ORDER
                                                )
PATRICE RAVEN,                                  )
                                                )
                Defendant.                      )


      After a review of the filings from the Northern District of California (No. 307CR671-
JSW), the defendant, Patrice Raven, shall appear before the Honorable Lyle E. Strom,
Senior U.S. District Judge, in Courtroom No. 5, Third Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 10:00 a.m. on May 2, 2008.
      The clerk shall mail a copy of this order to: Patrice Raven, 4956 Lefebvre Way,
Antioch, CA 94531.
      IT IS SO ORDERED.
      DATED this 28th day of March, 2008.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
